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  7
                               UNITED STATES DISTRICT COURT
  8
                          CENTRAL DISTRICT OF CALIFORNIA
  9
 10
 11   LUIS LORENZO VARGAS,                           CASE NO. CV16-08684 SVW (AFMx)
                                                     Hon. Stephen V. Wilson, Courtroom 10A
 12                                                  Hon. Alexander F. MacKinnon, Magistrate, 780
                  Plaintiff,                         Roybal
 13
            v.                                       DEFENDANT CITY OF LOS
 14                                                  ANGELES’ MOTION FOR
                                                     PARTIAL SUMMARY JUDGMENT
 15   CITY OF LOS ANGELES; LOS                       OF PLAINTIFF’S MUNICIPAL
      ANGELES POLICE DEPARTMENT;                     LIABILITY CLAIM;
 16   COUNTY OF LOS ANGELES; OFFICE                  MEMORANDUM OF POINTS AND
      OF THE LOS ANGELES DISTRICT                    AUTHORITIES; DECLARATION
 17   ATTORNEY; LOS AGELES SHERIFF’S                 OF DANIEL JENKS; EXHIBITS
      DEPARTMENT; MONICA QUIJANO;                    [Separate Statement of Uncontroverted Facts
 18   RICHARD TAMEZ; and DOES 1-10                   And Conclusions of Law, Declaration, Proposed
      INCLUSIVE,                                     Order; Proposed Judgment; Request For Judicial
 19                                                  Notice; and Exhibits filed concurrently
                                                     herewith]
 20               Defendants.                        DATE:       June 10, 2019
                                                     TIME:       1:30 p.m.
 21                                                  CTRM:       10A
 22   TO THE HONORABLE COURT, PLAINTIFF AND HIS COUNSEL:
 23        NOTICE IS HEREBY GIVEN that on June 10, 2019 at 1:30 p.m. in Courtroom
 24   10A before the Honorable Stephen V. Wilson, Judge of the United States District Court-
 25   Central District of California, located at 350 W. First Street, Los Angeles, CA 90012,
 26   Defendants City of Los Angeles and the Los Angeles Police Department will move this
 27   Court for an order granting partial summary judgment of the Second Claim for Relief
 28   for Civil Rights Violations 42 USC 1983 (“Monell Violations”) and the Third Claim

                                                 i
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  1   of Relief for a State Law Claim of Respondeat Superior1 in the Plaintiff’s Second
  2   Amended Complaint (“SAC”).
  3         This motion is based upon the allegations of SAC, the Memorandum of Points and
  4   Authorities attached hereto, the attached supporting Declaration of Daniel Jenks and
  5   Geoffrey Plowden, the exhibits attached thereto; and the accompanying Request for
  6   Judicial Notice, Statement of Uncontroverted Facts and Conclusions of Law and/or any
  7   other oral and documentary evidence presented to the Court at the time of the hearing.
  8         This motion was discussed in open court with counsel on April 15, 2019.
  9   Defendants sent a L.R. 7-3 meet and confer correspondence on April 30, 2019. Plaintiff
 10   indicated on May 8, 2019 he will oppose the motion, but has offered no opposing
 11   authorities.
 12
      Dated: May 15, 2019       MICHAEL N. FEUER, City Attorney
 13                             JAMES P. CLARK, Chief Deputy City Attorney
                                CORY M. BRENTE, Senior Assistant City Attorney
 14
 15                             By:      /S/Geoffrey Plowden
                                  GEOFFREY PLOWDEN, Deputy City Attorney
 16
                                Attorneys for Defendants, CITY OF LOS ANGELES,
 17                             LOS ANGELES POLICE DEPARTMENT, MONICA2
                                QUIJANO, SCOTT SMITH and RICHARD TAMEZ
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            1
 25           Counsel for defendants recently reviewed the docket and found this claim had
        not been formally dismissed. As this claim does not, and could not, allege the
 26     mandatory compliance with California Tort Claims Act, it should be dismissed at
 27     this time.
            2
              Defendant Tamez should also be dismissed formally. He remains on the docket
 28     as a named defendant, but plaintiff has indicated he is not pursuing his claims
        against Defendant Tamez.
                                                   ii
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  1                    MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.      INTRODUCTION
  3           Plaintiff Luis Vargas filed his Complaint on November 21, 2016. The operative
  4   pleading is the Second Amended Complaint (“SAC”) (Doc.113) which was filed on
  5   April 13, 2018, wherein Plaintiff alleges the following Claims for Relief: 1) Failure to
  6   disclose Brady evidence; 2) Monell violations; 3) State law claim for respondeat
  7   superior. This Court denied, in part, defendants’ motions relative to the Brady claim,
  8   but did not formally dismiss the Third Cause of Action for state law claims. At the status
  9   conference of April 15, 2019, the Court ordered defendants to bring the instant motion
 10   as to the Monell claim.
 11           Plaintiff’s Monell claim is based on a very general failure to train theory against
 12   the City of Los Angeles (Canton claim). Plaintiff does not allege a policymaker was the
 13   moving force behind plaintiff’s constitutional injury, nor does he allege a particular
 14   policymaker, acting in his official capacity, acted with deliberate indifference.
 15           For the reasons stated herein, plaintiff’s Monell/Canton claim is lacking in
 16   evidence and should be dismissed. Plaintiff’s Monell/Canton claim conflates
 17   defendants’ criminal discovery obligation with a convoluted constitutional injury claim
 18   (relating to uncharged, uncorroborated other crimes evidence). A Canton claim must be
 19   based on a failure to train that is “so obvious and the inadequacy so likely to result in
 20   violation of constitutional rights, that the policy makers can reasonably be said to have
 21   been deliberately indifferent to the need.” Plaintiff cannot cite a case or statute requiring
 22   officers to disclose uncharged, unrelated other crimes evidence.3
 23           Plaintiff’s third claim for relief, a state law claim for respondeat superior, fails to
 24   allege compliance with the mandatory tort claim act requirements and should also be
 25   dismissed at this time.
 26
 27           3
                 In fact, discovery of unsolved crime reports, wherein there was neither a
 28        charged or arrested subject (as we have here), was deemed not to be discoverable
           (i.e., to be turned over by police). People v Littleton (1992) 7 Cal.App.4th, 906, 911.
                                                       1
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  1   II.     STATEMENT OF FACTS
  2           Plaintiff Luis Vargas’ lawsuit stems from his release from custody wherein he now
  3   alleges he was wrongfully convicted of committing a rape and two attempted rapes in
  4   1998.      (Defendants’ Statement of Uncontroverted Facts and Conclusions of Law
  5   (hereinafter “DSUF”) Fact No. 1). Plaintiff contends the City of Los Angeles and the
  6   Los Angeles Police Department failed to train as to disclosing information pertaining to
  7   crimes identical to previous investigations and/or convictions, such as those Vargas was
  8   convicted of. (DSUF No. 2) And plaintiff contends the LAPD failed to train when such
  9   material constitutes Brady material and must be provided to the prosecution. (DSUF No.
 10   3)
 11           LAPD detectives are trained in written form on discovery in criminal cases.

 12   (DSUF No. 4) They are also trained on the job on discovery. (DSUF No. 5) The policy

 13   of the LAPD during the 1994-2000 time period was for detectives to produce all

 14   discovery to the prosecutor and let him/her decide what to turn over to the criminal

 15   defendant. (DSUF No. 6) In 1999, the California Penal Code mandated discovery as to

 16   certain items at the time. (DSUF No. 7 and Request for Judicial Notice).

 17            “The prosecuting attorney shall disclose to the defendant or his or her attorney all
           of the following materials and information, if it is in the possession of the prosecuting
 18        attorney or if the prosecuting attorney knows it to be in the possession of the
 19        investigating agencies:
           (a) The names and addresses of persons the prosecutor intends to call as
 20            witnesses at trial.
 21        (b) Statements of all defendants.
           (c) All relevant real evidence seized or obtained as a part of the investigation of the
 22            offenses charged.
 23        (d) The existence of a felony conviction of any material witness whose credibility is
                likely to be critical to the outcome of the trial.
 24        (e) Any exculpatory evidence.
 25        (f) Relevant written or recorded statements of witnesses or reports of the statements
               of witnesses whom the prosecutor intends to call at the trial, including any reports
 26            or statements of experts made in conjunction with the case, including the results
 27            of physical or mental examinations, scientific tests, experiments, or comparisons
               which the prosecutor intends to offer in evidence at the trial.”
 28            Cal Penal Code §1054.1 (enacted 6/6/1990)
                                                      2
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  1        In 2000, the LAPD also provided written training on Brady obligations,

  2 particularly as to evidence relating to witnesses’ credibility. (DSUF No. 8).
  3       California Peace Officer Standards and Training (“POST”) did not, as of 1994-

  4 2000, have a mandatory training component on Brady. (DSUF No. 9). POST sets the
  5 minimum standards for training for all police agencies in California. (DSUF No. 10).
  6 III. PLAINTIFF CANNOT PROVE HIS MONELL CLAIMS AGAINST THE
  7      CITY DEFENDANTS.

  8        Plaintiff alleges in the SAC in pertinent part, the City of Los Angeles “failed to

  9   train or supervise investigators … to disclose(ing) all exculpatory and impeachment

 10   evidence.” (Doc. 113 at p. 47) Further, “as a result of this failure to properly train,

 11   supervise or provide policies and procedures (in this area)” the failure to supervise

 12   proximately caused Plaintiff’s constitutional rights to be violated and led to his wrongful

 13   conviction and incarceration. (Doc. 113 at p. 48).
 14        Failure to train is the most “tenuous” theory of municipal liability for the
 15   deprivation of constitutional rights. Connick v. Thompson, 563 U.S. 51, 61, 131 S. Ct.
 16   1350, 1360 (2011).
 17        Plaintiff cannot meet the highly elevated standard required for failure to train
 18   claims under § 1983. “[T]he inadequacy of police training may serve as the basis for
 19   § 1983 liability only where the failure to train amounts to deliberate indifference to the
 20   rights of persons with whom the police come into contact.” Flores v. Cty. of Los Angeles,
 21   758 F.3d 1154, 1158 (9th Cir. 2014) (citing City of Canton, Ohio v. Harris, 489 U.S.
 22   378, 379, 109 S. Ct. 1197, 1199, 103 L. Ed. 2d 412 (1989) (hereinafter “Canton”).
 23   Deliberate indifference requires “proof that a municipal actor disregarded a known or
 24   obvious consequence of his action.” Connick v. Thompson, 563 U.S. 51, 61, 131 S. Ct.
 25   1350, 1360 (2011). “Accordingly, the City's policymakers must have been ‘on actual or
 26   constructive notice that a particular omission in their training program causes city
 27   employees to violate citizens' constitutional rights.’ ” Rabinovitz v. City of Los Angeles,
 28

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  1   287 F. Supp. 3d 933, 966 (C.D. Cal. 2018) (citing Connick, 563 U.S. at 61.) To allow

  2   otherwise would essentially institute “de facto respondeat superior liability.” Id.

  3         To show actual or constructive notice, plaintiff “must either present a ‘pattern of

  4   similar constitutional violations by untrained employees’ or they must show that the

  5   municipality ‘has failed to train its employees to handle recurring situations presenting

  6   an obvious potential for’ constitutional violations.” Id. (citing Connick, 563 U.S. at 107,

  7   n. 24; Board of Cty. Com'rs of Bryan Cty. v. Brown, 520 U.S. 397, 409, 117 S.Ct. 1382,

  8   137 L.Ed.2d 626 (1997)) Plaintiff has no pattern evidence here.

  9         The Connick court acknowledged that “[i]n virtually every instance where a person

 10   has had his or her constitutional rights violated by a city employee, a § 1983 plaintiff

 11   will be able to point to something the city could have done to prevent the unfortunate

 12   incident.” Id. (Internal quotations omitted.) To hold cities liable for such specific

 13   criticisms would give “plaintiffs or courts carte blanche to micromanage local
 14   governments[.]” Id. at 68
 15         Under certain circumstances, a municipality may be held liable under § 1983 for
 16   failure to properly train its employees. City of Canton, Ohio v. Harris, 489 U.S. at 388.
 17   In Merritt v. County of Los Angeles, 875 F.2d 765 (9th Cir. 1989), the Ninth Circuit
 18   articulated a three-part test for assessing municipal liability under § 1983 in failure to
 19   train cases.
 20         First, Plaintiffs must establish the City’s existing training program is inadequate.
 21   “The adequacy of a particular training program must be resolved in relation to the tasks
 22   the particular officers must perform. A training program will be deemed adequate if it
 23   enables officers to respond properly to the usual and recurring situations with which
 24   they must deal. Merritt, 875 F.2d at 7
 25         Plaintiff’s argument assumes the City’s training program is inadequate.
 26   Defendants, in fact received training on Brady’s obligation to turn over exculpatory
 27   evidence. (DSUF Nos. 4-8) See, Daniel Jenks Declaration and exhibits.
 28

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 1           As set forth above, POST does not require LAPD to train on Brady. (DSUF Nos.

 2   9-10) Jenks Decl.

 3           Second, “the inadequacy of police training may serve as the basis for § 1983

 4   liability only where the failure to train amounts to deliberate indifference to the rights

 5   of persons with whom the police come into contact.” Canton, 489 U.S. at 388, 109 S.Ct.

 6   at 1204. This heightened degree of culpability may be shown where “the need for more

 7   or different training is so obvious and the inadequacy so likely to result in violation of

 8   constitutional rights, that the policy makers can reasonably be said to have been

 9   deliberately indifferent to the need.... [I]n that event, the failure to train may fairly be

10   said to represent a policy for which the city is responsible and for which the city may be

11   held responsible if it actually causes injury.” Canton, 489 U.S. at 390, 109 S.Ct. at 1205.

12           A plaintiff cannot prove the existence of a municipal policy or custom based solely

13   on the occurrence of a single incident or unconstitutional action by a non-policymaking
14   employee.” Davis v. City of Ellensburg, 869 F .2d 1230, 1233 (9th Cir. 1989) (affirming
15   summary judgment); City of Oklahoma City v. Tuttle, 471 U.S. 808, 823-24 (1985)
16   (“Proof of a single incident of unconstitutional activity is not sufficient to impose
17   liability under Monell ...”) In fact, in Connick, the U.S, Supreme Court found four other
18   incidents (of convictions revered on Brady violations) insufficient to provide notice of
19   inadequate training. Id., at 62-63.
20           Plaintiff’s argument assumes the City was on notice of a need for different training
21   and ignored such a need with deliberate indifference. Defendants, in fact received
22   training on Brady’s obligation to turn over exculpatory evidence. (DSUF Nos. 4-8) Jenks
23   Decl.
24           Finally, Plaintiff must show the inadequate training that manifests deliberate
25   indifference by the City “actually caused” the constitutional deprivation at issue.
26   Merritt, 875 F.2d at 770 (citing Canton, 489 U.S. at 391, 109 S.Ct. at 1207).
27
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 1        Here, Plaintiff argues that because he allegedly suffered a constitutional injury in

 2   this case, there must have been inadequate training that caused the deprivation. A single

 3   incident does not demonstrate deliberate indifference. As stated in Connick,

 4        “To prove deliberate indifference, Thompson needed to show that Connick was on
          notice that, absent additional specified training, it was “highly predictable” that
 5        the prosecutors in his office would be confounded by those gray areas and make
 6        incorrect Brady decisions as a result. In fact, Thompson had to show that it was so
          predictable that failing to train the prosecutors amounted to conscious disregard
 7        for defendants' Brady rights.” (internal citations omitted.)
 8        Connick, 563 U.S. at 107.

 9        Plaintiff must show the need to train the officers on Brady was so obvious and the

10   failure to adopt such a specific training program was so egregious that it rose to the level

11   of deliberate indifference. It will not suffice to show that an injury or accident could

12   have been avoided “if an officer had better or more training, sufficient to equip him to

13   avoid the particular injury-causing conduct. Such a claim could be made about almost

14   any encounter resulting in injury....” Canton, 489 U.S. at 391, 109 S.Ct. at 1206.

15   “[A]dequately trained officers occasionally make mistakes; the fact that they do says

16   little about the training program or the legal basis for holding the city liable.” Id. See,

17   also, Doughtery v. City of Covina, 654 F.3d 892, 900 (9th Cir.2011) ("Mere negligence

18   in training or supervision … does not give rise to a Monell claim.") Plaintiff assumes

19   the LAPD was negligent in its training, but that assumption is irrelevant.

20        A. Plaintiff’s Monell/Canton claim conflates defendants’ criminal discovery

21        obligations with a convoluted constitutional injury claim (relating to

22        uncharged, uncorroborated other crimes evidence).

23        Contrary to any existing precedent or statute, Plaintiff’s SAC claims that it was

24   clearly established in the 1996-2000 time period at issue in this case that police officers

25   were obligated to disclose reports of ongoing, unsolved similar crimes. And as such,

26   the failure to do so constitutes a Brady violation, resulting in a constitutional harm. He

27   is wrong. POST, setting forth the minimum standards for training, takes no such

28   position. California statutory law, as seen in Cal. Penal Code 1054.1, takes no such

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 1   position.4 And, California courts at the time have not so held. See, Barker v. Fleming,
 2   423 F.3d 1085, 1099 (9th Cir. 2005) (prosecutor not required to turn over files reflecting
 3   leads or ongoing investigations, which fail to contain exonerating or impeaching
 4   information). Sweaney v. Ada County, 119 F.3d 1385, 1388 (9th Cir. 1997); People v.
 5   Littleton, (1992) 7 Cal.App.4th 906, 911; People v. Hall, (1986) 41 Cal.3d 826, 832.)
 6        Per Connick, there can be no failure to train and/or deliberate indifference if there
 7   was no previous case which held that unrelated unsolved crime reports constituted Brady
 8   material. Plaintiff has no evidence that the LAPD was on notice prior to 1999 that prior
 9   unsolved crimes were Brady evidence. While the main claim in this case is such crime
10   reports are “exculpatory”, plaintiff would be hard pressed to find any law or POST
11   learning domain which supports his theories.
12        Plaintiff’s willful suppression of evidence (due process) claim is wholly unrelated
13   to any alleged failure to train by the LAPD. California case law, statutes and POST
14   minimum training are silent as to the proposition that Brady material includes reports of
15   unsolved, uncharged similar crimes. In fact, California case law rejects that proposition.
16   It would be patently unfair to hold the City liable for failure to train when it was not on
17   notice there was an obvious need to train on that subject.
18        California Government Code section 945.4 (when read together with Section
19   950.2) provides that no lawsuit can be brought against a public entity or public employee
20   which a claim is required “until a written claim therefor has been presented” to the public
21   entity.5 Failure to submit a pre-lawsuit claim is fatal to a state tort law cause of action.
22
          4
23           Cal. Pen. Code §1054.1 does not define exculpatory evidence as so-called
       similar crimes evidence.
24         5
             Section 945.4 states: Except as provided in Sections 946.4 and 946.6, no suit
25     for money or damages may be brought against a public entity on a cause of action
       for which a claim is required to be presented in accordance with Chapter 1
26     (commencing with Section 900) and Chapter 2 (commencing with Section 910) of
27     Part 3 of this division until a written claim therefor has been presented to the public
       entity and has been acted upon by the board, or has been deemed to have been
28     rejected by the board, in accordance with Chapters 1 and 2 of Part 3 of this division.

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 1   Janis v. State Lottery Comm’n, 68 Cal.App.4th 824, 832 (1998)
 2           In fact, failure to allege compliance in the complaint with the pre-lawsuit claim
 3   requirement is fatal to a state tort law claim for damages, and the claim must be
 4   dismissed at the demurrer stage under Section 945.4. State v. Superior Court (Bodde),
 5   32 Cal.4th 1234, 1239 (2004)
 6           Plaintiff’s SAC does not, and could not allege compliance with the pre-lawsuit tort
 7   claim compliance requirement. Thus, the third cause of action must be dismissed as to
 8   all defendants.
 9   V.      CONCLUSION
10           For the foregoing reasons, Defendants City of Los Angeles and the Los Angeles
11   Police Department respectfully request their Motion for Partial Summary Judgment be
12   granted.
13                                  MICHAEL N. FEUER, City Attorney
                                    JAMES P. CLARK, Chief Deputy City Attorney
14                                  CORY M. BRENTE, Assistant City Attorney
15
16
                                    By:       /S/ -Geoffrey Plowden        .
                                          GEOFFREY PLOWDEN, Deputy City Attorney
17                                  Attorneys for Defendants, CITY OF LOS ANGELES,
                                    LOS ANGELES POLICE DEPARTMENT,
18                                  MONICA QUIJANO and RICHARD TAMEZ
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25            Section 950.2 states: Except as provided in Section 950.4, a cause of action against a
          public employee or former public employee for injury resulting from an act or omission in
26
          the scope of his employment as a public employee is barred if an action against the
27        employing public entity for such injury is barred under Part 3 (commencing with Section
          900) of this division or under Chapter 2 (commencing with Section 945) of Part 4 of this
28        division. This section is applicable even though the public entity is immune from liability
          for the injury.
                                                       8
